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            Exhibit 29
      Case 2:16-cv-06576-KM-MAH Document 266-29 Filed 10/10/22 Page 2 of 4 PageID: 11967


To:                    INDUSTRIA DE ALIMENTOS ZENÚ S.A.S. (nycipdocketing@reedsmith.com)
Subject:               U.S. TRADEMARK APPLICATION NO. 86459824 - ZENÚ - 506405.20001
Sent:                  10/4/2015 11:37:02 AM
Sent As:               ECOM101@USPTO.GOV
Attachments:

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                          OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION


            U.S. APPLICATION SERIAL NO. 86459824

            MARK:          ZENÚ
                                                                                   *86459824*
            CORRESPONDENT ADDRESS:
              CLARK W. LACKERT                                                     GENERAL TRADEMARK INFORMATION:
              REED SMITH LLP                                                       http://www.uspto.gov/trademarks/index.jsp
              599 LEXINGTON AVE FL 26
              NEW YORK, NY 10022-7684                                              VIEW YOUR APPLICATION FILE

            APPLICANT: INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.

            CORRESPONDENT’S REFERENCE/DOCKET NO :
              506405.20001
            CORRESPONDENT E-MAIL ADDRESS:
              nycipdocketing@reedsmith.com



                                          SUSPENSION NOTICE: NO RESPONSE NEEDED

ISSUE/MAILING DATE: 10/4/2015

Status

This Office action is in response to applicant’s communication filed on September 14, 2015.

The following requirements have been satisfied: (1) Identification of goods and services; (2) Mark Description and (3) Signed declaration.

The trademark examining attorney is suspending action on the application for the reason(s) stated below. See 37 C.F.R. §2.67; TMEP §§716 et
seq.

PENDING CIVIL PROCEEDING(S): The pending civil proceeding(s) below pertains to (1) a registered mark that conflicts with applicant’s
mark under Trademark Act Section 2(d), (2) a mark in a pending application(s) that could conflict with applicant’s mark under Section 2(d) if it
registers, and/or (3) the registrability of applicant’s mark. See 15 U.S.C. §1052; 37 C.F.R. §2.83; TMEP §§716.02(a), (c)-(d), 1208 et seq.
Because the civil proceeding(s) pertains to an issue that could directly affect whether applicant’s mark can be registered, action on this
application is suspended pending termination of the civil proceeding(s). See 37 C.F.R. §2.67; TMEP §§716.02(a), (c)-(d).

         - Cancellation No(s). 92059947

FOREIGN REGISTRATION: Applicant is required to provide a true copy, a photocopy, a certification, or a certified copy of a foreign
registration from applicant’s country of origin that will be in force at the time the United States registration issues. 15 U.S.C. §1126(e); 37
C.F.R. §2.34(a)(3)(ii)-(iii); In re Societe D’Exploitation de la Marque Le Fouquet’s , 67 USPQ2d 1784, 1788-89 (TTAB 2003); TMEP
§§1003.04(a)-(b), 1004.01, 1004.01(a). Action on this application is suspended until the USPTO receives a copy of such foreign registration or
proof of its renewal. TMEP §§716.02(b), 1003.04(a)-(b), 1004.01(a). If the foreign registration or renewal document is not in English, applicant
must provide an English translation. 37 C.F.R. §2.34(a)(3)(ii)-(iii); TMEP §1004.01(b). Further, applicant should notify the trademark
examining attorney in the event that the foreign application abandons or the foreign registration is not renewed. See TMEP §§1003.08,
1004.01(a). In such case, applicant may amend the application to rely on another basis, if appropriate, and will retain the priority filing date, if
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applicable. TMEP §§1003.08, 1004.01(a).

The current certificate is not acceptable because it is not in English. Therefore, the applicant must submit an English translation of the foreign
registration. 37 C.F.R. §2.34(a)(3)(ii); TMEP §1004.01(a)-(b). The translation should be signed by the translator. TMEP §1004.01(b).

The USPTO will periodically conduct a status check of the application to determine whether suspension remains appropriate, and the trademark
examining attorney will issue as needed an inquiry letter to applicant regarding the status of the matter on which suspension is based. TMEP
§§716.04, 716.05. Applicant will be notified when suspension is no longer appropriate. See TMEP §716.04.

No response to this notice is necessary; however, if applicant wants to respond, applicant should use the “Response to Suspension Inquiry or
Letter of Suspension” form online at http://teasroa.uspto.gov/rsi/rsi.

If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-mail
communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to this
Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-.05.
Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in this
Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.



                                             /Saima Makhdoom/
                                             Examining Attorney
                                             Law Office 101
                                             U.S. Patent and Trademark Office
                                             Telephone: (571) 272-8802
                                             Saima.Makhdoom@USPTO.gov

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the Trademark Electronic Application System (TEAS) form at
http://www.uspto.gov/trademarks/teas/correspondence.jsp.
      Case 2:16-cv-06576-KM-MAH Document 266-29 Filed 10/10/22 Page 4 of 4 PageID: 11969


To:                   INDUSTRIA DE ALIMENTOS ZENÚ S.A.S. (nycipdocketing@reedsmith.com)
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Sent:                 10/4/2015 11:37:03 AM
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Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 10/4/2015 FOR U.S. APPLICATION SERIAL NO.86459824

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov/, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
